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                      EXHIBIT 1
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  7
                          UNITED STATES DISTRICT COURT
  8                      CENTRAL DISTRICT OF CALIFORNIA
  9
      SHIRLEY SODERBERG,                        Case No.: 18-cv-03861-FMO-JPR
 10
 11               Plaintiff,
                                                DECLARATION OF WILLIAM
 12        vs.                                  HARMENING IN OPPOSITION TO
                                                DEFENDANTS’ MOTION IN
 13                                             LIMINE NO. 2 TO EXCLUDE
      CITY OF LOS ANGELES, et al.               PLAINTIFF’S EXPERTS ROGER
 14                                             CLARK AND WILLIAM
                                                HARMENING FROM TESTIFYING
 15               Defendants.                   AS TO IMPROPER MATTERS
                                                AND MATTERS BEYOND THEIR
 16                                             AREA OF EXPERTISE
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                                DECLARATION OF WILLIAM HARMENING
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                                            AFFIDAVIT

1.     My name is William Harmening, and I previously submitted a report of expert analysis and

opinion in the above-captioned matter. I have also testified in a deposition related to this case.

In the course of these activities I have provided a statement of qualification and curriculum vitae

outlining my training and experience. I offer this affidavit in support of Plaintiff’s answer to a

Daubert motion that has been filed by the Defense.

2.     In my 37 years of law enforcement experience I have received an extensive amount of

investigative training, and further, have provided such training. I have been trained in such

investigative methods as trajectory analysis, blood spatter analysis, latent fingerprints, timeline

analysis, and ejection pattern analysis, among others. I testified to this training in my deposition

related to this matter. Further, I acted as one of two lead instructors in a block of instruction on

crime scene searching and analysis at the Lincoln Land Police Training Center. And finally, I have

advanced my own knowledge of investigative methods during the 100+ cases I have participated

in as a police practices and use of force expert. Addendum A provides a sampling of the various

types of analyses I have completed. To date, none of these analyses have been challenged.

3.     I have routinely been asked by Attorneys during depositions about whether I hold

certifications in various types of investigative methods. I do not, and for a good reason. There are

no such certifications in law enforcement. There is often a misunderstanding, even by the

attorneys questioning me, that such certifications are real and necessary. The fact is these

certifications are offered by private organizations and associations for a fee and some minimal

experience. They are not required by any State, county, or municipality in order to conduct a

criminal investigation. The vast majority of police departments in the U.S. have less than five


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officers. These departments simply do not enjoy the luxury of a full-time detective or crime scene

specialist. They are forced to conduct these investigative activities themselves. Proper training is

critical. Certifications that offer an array of letters behind an officer’s name in return for a fee are

inconsequential. I made the decision many years prior to my retirement to discontinue my

involvement in these organizations due to their lack of benefit. While some do disseminate

information about various investigative methods and techniques, it is typically not peer-reviewed

or based on sound science. I have always chosen instead to further my knowledge through

academic peer-reviewed journal articles

4.      In spite of my training and knowledge in various types of field-based forensic analysis, I

would point out that I completed no such analyses in this case. The only physical evidence I

address and rely upon in my report―location of empty casings, shot trajectories, location of

Soderberg’s wounds―is evidence collected and analyzed by the LAPD and the Medical Examiner’s

Office. I consider their work in this matter, as it relates to the evidence, accurate, and thus I have

adopted their investigative conclusions. There was no specific expertise required on my part to

address the physical evidence, only a knowledge that exceeds that of a lay jury to comprehend

their work.

5.      In my report, I have provided discussion and opinion in three distinct areas; 1) crisis

intervention, 2) the use of S.W.A.T., and 3) the use of a helicopter-based sniper platform.

6.      With regard to crisis intervention, I would point out that I am a former crisis intervention

team (“C.I.T.”) instructor in the State of Illinois, one of the very first. I am a former police academy

instructor at the Lincoln Land Police Training Center in Springfield, IL., where I provided all

behavioral science instruction to police cadets from across the state. I am a former Illinois State


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licensed counselor. And I have been a professor at various universities for over a decade. From

2014 until my recent retirement, I was the program coordinator and lead instructor in the

undergraduate forensic psychology program at Washington University in St. Louis, one of the

Nation’s top research institutions. The courses I designed and taught included a course in crisis

intervention. My academic writings include two widely used and peer-reviewed textbooks; one

titled “Forensic Psychology” and published by Pearson Publishers, and the other titled “Crisis

Intervention” and published by Prentice Hall. As a uniformed police officer, I served as the

Department’s designated mental health officer, and have personally conducted many crisis

negotiations.

7.     With regard to the use of S.W.A.T., while I have never been a S.W.A.T. officer, I have

advanced my knowledge of such tactics during 37 years of law enforcement experience.

Additionally, I have written significantly on an academic level about S.W.A.T. tactics using peer-

reviewed research. In the textbook identified above and titled “Crisis Intervention,” I have

included chapters on crisis communication, crisis negotiation, use of force, and the tactical

response to cases involving hostages and barricaded subjects. Similar chapters are included in

the textbook identified above and titled “Forensic Psychology.” In my report I have also

connected my knowledge of tactical policing and crisis intervention by discussing the impact of

using S.W.A.T. tactics against a mentally ill individual, and the near impossibility of de-escalation

in such cases where these tactics are used.

8.     With regard to the use of the helicopter-based sniper platform, I would first point out that

this case represents the first time the LAPD had ever used this platform, and that after having it

available for deployment for as long as 13 years. In my report I offer no opinion on the specific


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tactics used by the helicopter-based officers. But the obvious question is, what tactics even exist?

The helicopter flies into position for a shot and the sniper fires. The expertise required to evaluate

the use of the helicopter is the same as for a ground-based officer. The rules of engagement are

exactly the same. Furthermore, I would argue that there really is no such thing as an expert is

helicopter-based sniper tactics given that only three known departments in the U.S. have ever

used this platform a total of three times. Again, this was the first time it was used by the LAPD.

Finally, I have argued in my report that the use of the helicopter was predicated on a false

premise. The LAPD have argued that it was necessary because Soderberg had a tactically superior

and elevated position, and that it would have been too dangerous to engage him from a ground

position. These reasons are nothing short of absurdity. By the time the helicopter arrived on-

scene, Soderberg was fully contained inside a house that was completely surrounded. He NEVER

had a tactically superior or elevated position. And engaging him from a ground position was

exactly what they did. He had no possibility of escape.

9.     In spite of my training and knowledge, it is important to point out that at the end of the

day this is not a case about S.W.A.T. tactics, or even helicopter-based sniper tactics. The Defense

may argue that because I have never been a S.W.A.T. officer or helicopter-based sniper, I am not

qualified to opine on these issues. But I am not opining on their tactics, only on the use of deadly

force against Anthony Soderberg. Regardless if an officer fires from a helicopter or while dressed

in the tactical garb of an LAPD S.W.A.T. officer, the Constitutional, training, and policy standards

governing the use of deadly force are exactly the same. Anthony Soderberg was shot as many as

twelve times while he was outside the house with his hands clearly visible. Contrary to the

statements of nearly every S.W.A.T. officer involved, he was unarmed and his hands were and


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empty, something even the LAPD has admitted. The type of officers who fired, and the platforms

from which they fired, are inconsequential. The issue is that they fired at all.

10.    There are two types of expertise demonstrated in my report. First is a knowledge and

expertise in the area of crisis intervention, especially as it pertains to mental illness. And second,

is a knowledge and expertise in the use of force, especially deadly force. In the area of crisis

intervention, I am generally considered one of the Nation’s top experts. And on the subject of

deadly force, I have participated in over 100 cases, including some of the most highly profiled

cases in the U.S., including the case of Michael Brown in Ferguson MO, Dontre Hamilton in

Milwaukee, and Cedric Chatman in Chicago; all cases that led to rioting and civil unrest.




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                                         ADDENDUM A


                                   INVESTIGATIVE PORTFOLIO
                                      William Harmening


       Following is a sampling of investigative analyses I have completed in the course of
providing expert witness services in the areas of police practices and use of force. None of these
analyses have been challenged.




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In the matter of Michael Brown in Ferguson MO I completed an extensive analysis of the physical
evidence. The above charts, two of many, include trajectory, blood spatter, and distance analyses. I was
able to disprove the officer’s account and show that Brown actually stopped advancing toward the
officer prior to being shot.



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 In the matter of John Deming Jr. in Pleasanton CA I was able to disprove the officer’s account by
 completing a complex timeline analysis that required syncing multiple sources of audio and video data. I
 was able to prove that the officer essentially staged the scene prior to the other officer arriving.
 Additionally, by completing a trajectory analysis using the Medical Examiner’s report, I was able to
 determine the victim’s body position at the time of the shooting.




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 In the matter of Tommy Le in Seattle WA, I completed an ejection pattern analysis, as well as a
 trajectory analysis. This analysis required that I take the location of the empty casings, as determined by
 the police department, and then based on ejection pattern data, as well as bullet defects in the house, I
 was able to show, based on the Medical Examiner’s description of the wounds, exactly where the victim
 was location when he was shot by the officer. I was also able to show the location of an officer who fired
 a Taser based on the Taser evidence at the scene



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 In the matter of Rafael Cruz in Bakersfield CA, I completed a trajectory analysis based on the locations of
 the empty casings (60 casings). As determined by detectives. I was able to combine this information with
 the Medical Examiner’s report to prove that the victim was actually on the ground when he received
 numerous shots, including a fatal shot to the head. This was contrary to the officer’s account that the
 victim was standing upright and pointing an object.


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 A partial trajectory and wound analysis I completed in the matter of Michael Dial in White County,
 Tennessee. I was able to prove, using the Medical Examiner’s report and dash cam footage, which of
 two officers fired the fatal shot.




 In the matter of Jose Juarez in Azusa CA, I was able to determine the officer’s location in relation to the
 victim based on the empty casings, a spent bullet, and a wound to the victim’s hand.


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 In the matter of Crystalline Barnes in Jackson MS, I was able to determine the locations of two officers
 when they fired their weapons. This was done by analyzing the locations of the empty casings, as well as
 the bullet defects in the vehicle.




 In the matter of Nicholas Thomas in Smyrna GA, I was able to use the locations of the empty casings, the
 video data, and the trajectories of the shots through the vehicle’s glass to find the location of the officer
 when he fired. I was able to prove that the officer was not in front of the vehicle at the time of the
 shooting (case is currently under appeal after the Court awarded qualified annuity).

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 In the matter of Cary Ball Jr. I was able to take the triangulated measurements of the empty casings and
 body (they did no diagram) and reconstruct the scene. I not only showed the locations of the casings in
 relation to the body but based on ejection pattern data was able to then show the muzzle location of
 each shot. I was able to show the movement of the two officers as they approached Ball Jr., and to
 prove that most of the shots were fired at a distance of five feet or less while Ball Jr. was on the ground.

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